      Case 5:15-cv-00108 Document 66 Filed in TXSD on 08/10/18 Page 1 of 17
                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                             UNITED STATES DISTRICT COURT                                August 10, 2018
                              SOUTHERN DISTRICT OF TEXAS                                David J. Bradley, Clerk
                                   LAREDO DIVISION

GREGORY SPRINGER,                                  §
                                                   §
          Plaintiff,                               §
VS.                                                §   CIVIL ACTION NO. 5:15-CV-108
                                                   §
ORTELIO RODRIGUEZ, et al.,                         §
                                                   §
          Defendants.                              §

                                  MEMORANDUM & ORDER

         This case stems from a vehicle stop gone awry. During the stop, which involved several

Border Patrol agents, Plaintiff was tased and eventually arrested. Plaintiff now challenges the

lawfulness of (1) the stop itself, (2) the agents’ use of force, and (3) his arrest. Specifically, he

claims that Border Patrol Agents Ortelio Rodriguez and John Gregory violated his Fourth

Amendment rights because the stop was unsupported by reasonable suspicion, the agents’ use of

force was excessive, and his arrest was unsupported by probable cause. Plaintiff thus sued both

agents for damages under Bivens v. Six Unknown Named Agents of Federal Bureau of Narcotics,

403 U.S. 388 (1971). He also sued the United States under the Federal Tort Claims Act.

         Pending before the Court is Defendants’ motion for summary judgment. (Dkt. 49.) In

their motion, Defendants argue that Plaintiff’s claims against Agents Rodriguez and Gregory are

barred by qualified immunity. Plaintiff disagrees and argues that the agents are not entitled to

qualified immunity because the vehicle stop, the agents’ use of force, and Plaintiff’s arrest all

violated Plaintiff’s clearly established constitutional rights.

         Having carefully considered the record and for the reasons discussed below, the Court

denies Defendants’ motion in part and grants it in part. The Court concludes that because there is

a genuine dispute of material fact as to whether the vehicle stop violated Plaintiff’s clearly

1 / 17
     Case 5:15-cv-00108 Document 66 Filed in TXSD on 08/10/18 Page 2 of 17



established constitutional rights, Defendants are not entitled to summary judgment on qualified-

immunity grounds on Plaintiff’s unlawful-stop claim. But as to Plaintiff’s excessive-force and

false-arrest claims, the evidence viewed in the light most favorable to Plaintiff shows that the

agents’ use of force and decision to arrest Plaintiff did not violate Plaintiff’s clearly established

constitutional rights. Both claims are therefore barred by qualified immunity.

                                        Factual Background

         Defendants largely agree with Plaintiff’s version of the facts. Indeed, Plaintiff’s

passenger, Susan Farwell, filmed much of the vehicle stop and subsequent arrest on her cell

phone. (Dkt. 49, Exh. G; Dkt. 60, Exh. B-1.) But Farwell’s video did not capture everything.

Thus, where the parties disagree about particular facts that are not reflected in the video

evidence, the Court notes those disputed facts accordingly and views them in the light most

favorable to Plaintiff. See Harris v. Serpas, 745 F.3d 767, 771 (5th Cir. 2014). However, the

Court is not bound to adopt Plaintiff’s version of the facts if, at any point, it is contradicted by

Farwell’s video. See id. (explaining that when there is video evidence in the record at the

summary-judgment stage, courts should view the facts of the case “in the light depicted by the

videotape”).

         On October 2, 2013, Plaintiff was driving with Farwell southbound on Interstate 35 in

Laredo, Texas toward the Laredo International Airport. (Dkt. 60, Attach. 4 at 6.) At some point

on their way to the airport, Plaintiff noticed that Agent Rodriguez’s car was following them at

what Plaintiff perceived to be an unsafe distance. (Id., Attach. 1 at 12–15.) Plaintiff claims that

he then “tapped” on his brakes to “flash [his] brake lights” and signal to Agent Rodriguez that he

was driving dangerously close to Plaintiff’s car.1 (Id. at 15.) Shortly thereafter, Agent Rodriguez



         1
             Plaintiff, in his response to Defendants’ summary-judgment motion, also states that he
2 / 17
     Case 5:15-cv-00108 Document 66 Filed in TXSD on 08/10/18 Page 3 of 17



activated his emergency lights and pulled Plaintiff over.2 (Id. at 15–16.) Agent Rodriguez alleges

that Plaintiff did not tap on his brakes at all. Instead, he asserts that Plaintiff “slammed” on his

brakes, which indicated to him that Plaintiff intended to “cause a collision and disable his

vehicle.” (Dkt. 49 at 21; see id., Attach. 2 at 2, 16–17.) This, in turn, allegedly led Agent

Rodriguez to believe that Plaintiff was engaged in criminal activity. (Id. at 2–3.)

       After Agent Rodriguez pulled Plaintiff over, Plaintiff got out of his car. (Dkt. 60, Exh. B-

1 at 00:00.) Agent Rodriguez then unholstered his taser, pointed it at Plaintiff, and repeatedly

ordered him to get back in his car. (Id. at 00:07–1:11.) Plaintiff did not comply. (See id. at 1:11–

2:08.) In fact, Plaintiff refused to address Agent Rodriguez directly and instead called another

Border Patrol agent with whom he had interacted in the past. (Id.) Shortly thereafter, the tension

between Plaintiff and Agent Rodriguez temporarily dissipated, and Agent Rodriguez holstered

his taser. (See id. at 2:08.) Yet the stop continued.

       As the stop progressed, other Border Patrol agents, including Agent Gregory, arrived at

the scene. (Dkt. 60, Attach. 1 at 20–21, 24–25.) Plaintiff was talking with several of the agents

when Agent Gregory suddenly “took issue” with the fact that Plaintiff had his hand in his left

pocket. (Dkt. 42 at 10; see Dkt. 60, Attach. 1 at 25.) Agent Gregory asserts that at that moment

he also spotted a knife clipped to Plaintiff’s right pocket. (Dkt. 49, Attach. 4 at 3.) Agent



tapped on his brakes to “disengage the cruise control function” on his car. (Dkt. 60 at 9, 24.) But
this assertion is directly contradicted by his deposition testimony. (Dkt. 60, Attach. 1 at 15.)
       2
         Agent Rodriguez testified at his deposition that he did not pull Plaintiff over; instead, he
stated that Plaintiff stopped “on his own.” (Dkt. 49, Attach. 2 at 3.) This testimony suggests that
Agent Rodriguez did not actually seize Plaintiff within the meaning of the Fourth Amendment.
Now, however, Defendants appear not to contest that Agent Rodriguez pulled Plaintiff over. (See
Dkt. 49 at 23.) At the very least, Plaintiff has set forth evidence showing that Agent Rodriguez
stopped him: Agent Rodriguez activated his emergency lights while driving behind Plaintiff in
the left lane (Dkt. 60, Attach. 1 at 15–16), and after Plaintiff stopped, Agent Rodriguez
repeatedly ordered him to get back in his car (Id., Exh. B-1 at 00:07–1:11).
3 / 17
     Case 5:15-cv-00108 Document 66 Filed in TXSD on 08/10/18 Page 4 of 17



Gregory accordingly ordered Plaintiff to remove his hand from his pocket, but Plaintiff did not

immediately comply. (Dkt. 60, Exh. B-1 at 3:40.) Agent Gregory then grabbed Plaintiff’s left

arm3 to “perform an escort hold” and to “control his arm and hand.” (Dkt. 49, Attach. 4 at 3.) In

response, Plaintiff stiffened his arm and clenched his fist.4 (Dkt. 60, Exh. B-1 at 3:50.) While the

two men struggled, Agent Gregory asked Plaintiff what he had in his hand, but Plaintiff did not

respond. (Id.) A few seconds later and without warning, Agent Rodriguez tased Plaintiff. (Id. at

3:53.) Plaintiff was instantly immobilized and fell to the ground. (Id.) He was later arrested but

released that same evening. (Dkt. 42 at 13; Dkt. 60, Attach. 1 at 33–36.) He was never charged

with any crime. (Id. at 37–38.)

                                        Legal Standards

A.     Bivens and Qualified Immunity

       “Under Bivens, a person may sue a federal agent for money damages when the federal

agent has allegedly violated that person’s constitutional rights.” Brown v. Nationsbank Corp.,

188 F.3d 579, 590 (5th Cir. 1999). However, government officials are protected from civil

damages liability by the doctrine of qualified immunity “when their actions could reasonably

have been believed to be legal.” Morgan v. Swanson, 659 F.3d 359, 370 (5th Cir. 2011). The

Supreme Court has established a two-prong test to determine whether a government official is

entitled to qualified immunity. Pearson v. Callahan, 555 U.S. 223, 232 (2009). And courts have

discretion to address either prong first. Darden v. City of Fort Worth, Tex., 880 F.3d 722, 727

       3
          In his complaint, Plaintiff alleges that Agent Gregory grabbed his arm at the moment he
took his hand out of his pocket. (Dkt. 42 at 11.) But Plaintiff points to no evidence in support of
this assertion. And it is unclear from Farwell’s video whether Plaintiff took his hand out of his
pocket before Agent Gregory grabbed it.
       4
          Farwell’s video shows that Plaintiff did not strike any agent. (Dkt. 60, Exh. B-1 at 3:47–
53.) It also appears that Plaintiff did not actually attempt to free himself from Agent Gregory’s
grip; rather, he refused to allow Agent Gregory to move his arm. (Id.)
4 / 17
     Case 5:15-cv-00108 Document 66 Filed in TXSD on 08/10/18 Page 5 of 17



(5th Cir. 2018). A government official is entitled to qualified immunity unless (1) the facts as

alleged by the plaintiff show that the official violated the plaintiff’s constitutional rights and (2)

those rights were “clearly established” at the time of the official’s alleged misconduct. Id. A

government official’s conduct violates a plaintiff’s clearly established rights when, at the time of

the challenged conduct, the contours of those rights were sufficiently clear that “every reasonable

official would have understood” that what he was doing was unlawful. Ashcroft v. al-Kidd, 563

U.S. 731, 741 (2011) (internal quotation marks omitted). A right may be clearly established even

without a case “directly on point, but existing precedent must have placed the . . . constitutional

question beyond debate.” Hanks v. Rogers, 853 F.3d 738, 747 (5th Cir. 2017) (internal quotation

marks omitted). Therefore, the law is ordinarily not considered “clearly established” when it is

cast “at a high level of generality.” Id. But in an “obvious case,” generalized standards are

sufficiently clear, “even without a body of relevant case law.” Brosseau v. Haugen, 543 U.S.

194, 199 (2004) (per curiam); see, e.g., Deville v. Marcantel, 567 F.3d 156, 164–66 (5th Cir.

2009) (per curiam) (concluding, in an obvious case, that the general standard that an arrest is

unlawful without probable cause was clear enough to defeat the defendant’s qualified-immunity

defense); see also Babb v. Dorman, 33 F.3d 472, 477 (5th Cir. 1994) (“[A] qualified immunity

defense cannot succeed where it is obvious that a reasonably competent officer would find no

probable cause.”).

B.       Summary Judgment

         Summary judgment is proper when “the movant shows that there is no genuine dispute as

to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a). Once an official pleads qualified immunity at the summary-judgment stage, “the burden

shifts to the plaintiff to rebut the defense by establishing a genuine fact issue.” Hunt v. Pierson,


5 / 17
     Case 5:15-cv-00108 Document 66 Filed in TXSD on 08/10/18 Page 6 of 17



2018 WL 1750600, at *4 (5th Cir. Apr. 11, 2018). Specifically, the plaintiff must establish a

genuine issue of material fact “as to whether the official’s allegedly wrongful conduct violated

clearly established law.” Winfrey v. Pikett, 872 F.3d 640, 644 (5th Cir. 2017). A fact is

“material” if its resolution in favor of one party might affect the lawsuit’s outcome. Sossamon v.

Lone Star State of Tex., 560 F.3d 316, 326 (5th Cir. 2009). And a dispute as to a material fact is

“genuine” if the evidence is such that a reasonable jury could return a verdict for the nonmoving

party. Seacor Holdings, Inc. v. Commonwealth Ins. Co., 635 F.3d 675, 680 (5th Cir. 2011)

(citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)). Lastly, although the plaintiff

bears the burden of establishing a genuine fact issue, “all inferences are drawn in [his] favor.”

Winfrey, 872 F.3d at 644.

                                            Discussion

A.       Unlawful Stop

         The Fourth Amendment protects “[t]he right of the people to be secure in their persons . .

. against unreasonable . . . seizures.” U.S. Const. amend. IV. A vehicle stop is a “seizure” within

the meaning of the Fourth Amendment and therefore must be reasonable under the

circumstances. Heien v. North Carolina, 135 S. Ct. 530, 536 (2014). A vehicle stop is considered

reasonable only if it is supported by “reasonable suspicion”—that is, a “particularized and

objective basis for suspecting the particular person stopped of breaking the law.” Id. (internal

quotation marks omitted). An officer who conducts a vehicle stop must also be able to point to

“specific and articulable facts which, taken together with rational inferences from those facts,

reasonably warrant” the stop. Davila v. United States, 713 F.3d 248, 258 (5th Cir. 2013). “This

standard requires more than merely an unparticularized hunch . . . .” Id. (quoting United States v.

Gonzalez, 190 F.3d 668, 671 (5th Cir. 1999)) (internal quotation marks omitted).


6 / 17
     Case 5:15-cv-00108 Document 66 Filed in TXSD on 08/10/18 Page 7 of 17



       Here, Defendants argue that Agent Rodriguez’s decision to initially stop Plaintiff was

justified by reasonable suspicion that Plaintiff violated 18 U.S.C. § 111.5 (Dkt. 49 at 22.) Section

111 makes it a crime to “forcibly assault[], resist[], oppose[], impede[], intimidate[], or

interfere[] with any [federal officer] while engaged in or on account of the performance of

official duties.” 18 U.S.C. § 111(a)(1). Defendants argue that when Plaintiff stepped on his

brakes he “interfered with Agent Rodriguez’s ability to continue to drive down the road and

conduct his duties.” (Dkt. 49 at 23.) Defendants also highlight Plaintiff’s admission that he

applied his brakes to get Agent Rodriguez to “back off.” (Id. at 21–23; Dkt. 60, Attach. 1 at 15.)

       However, viewing the evidence in the light most favorable to Plaintiff, the Court

concludes that Agent Rodriguez’s decision to stop Plaintiff violated the Fourth Amendment.

Plaintiff did nothing more than “tap” on his brakes. This alone is not enough for Agent

Rodriguez to have reasonably suspected that Plaintiff violated section 111. Reasonable suspicion

that a driver has criminally “interfered with” or “impeded” a federal official does not arise

simply because the driver decided to apply his brakes at the same moment that a federal official

happened to be driving behind him. To hold otherwise would allow federal officials to detain

almost any driver—even one who has broken no traffic laws. Furthermore, Plaintiff’s subjective

intent in deciding to use his brakes so that Agent Rodriguez would “back off” is irrelevant to the

Fourth Amendment analysis because that information was not available to Agent Rodriguez at

the time he stopped Plaintiff. See Terry v. Ohio, 392 U.S. 1, 21–22 (1968) (explaining that the

reasonableness of a seizure is evaluated based on the facts available to an officer at the moment



       5
          “Border Patrol agents may make roving stops on the basis of reasonable suspicion of
any criminal activity, and are not limited to suspicion of violation of immigration laws.” United
States v. Perkins, 352 F.3d 198, 200 (5th Cir. 2003). In fact, Plaintiff admits that a Border Patrol
agent may conduct a stop for “non-immigration purposes” if the agent “has witnessed a federal
crime.” (Dkt. 60 at 9.)
7 / 17
     Case 5:15-cv-00108 Document 66 Filed in TXSD on 08/10/18 Page 8 of 17



of the alleged Fourth Amendment violation). Therefore, here, viewing the evidence in the light

most favorable to Plaintiff, Agent Rodriguez did not have reasonable suspicion to believe that

Plaintiff violated section 111, and by stopping Plaintiff, Agent Rodriguez violated Plaintiff’s

right under the Fourth Amendment against unreasonable seizures.6

       Because the facts viewed in the light most favorable to Plaintiff show that Agent

Rodriguez violated Plaintiff’s constitutional right to be free from unreasonable seizures, the

Court must next assess whether that right was clearly established. The Court is unaware of—and

Plaintiff has not cited—any case addressing the particular factual scenario at issue here.

However, “officials can still be on notice that their conduct violates established law even in

novel factual circumstances.” Alexander v. City of Round Rock, 854 F.3d 298, 305 (5th Cir.

2017) (quoting Hope v. Pelzer, 536 U.S. 730, 741 (2002)). In this instance, despite the lack of

factually analogous precedent, the Court finds that the law was clearly established, thus

satisfying the second prong of the qualified-immunity analysis, as explained below.

       There is no doubt that at the time of the vehicle stop at issue in this case it was clearly

established that such a stop comports with the Fourth Amendment only when it is supported by

reasonable suspicion. See United States v. Arvizu, 534 U.S. 266, 273 (2002). It was also clearly

established that a violation of section 111 occurs only when the offender intends to “do the acts

specified” within the statute. See United States v. Moore, 958 F.2d 646, 649 (5th Cir. 1992)

(citing United States v. Feola, 420 U.S. 671, 686 (1975)). Although both of these propositions

are cast at a high level of generality, the Court holds that this case is so obvious that any

reasonable official in Agent Rodriguez’s position would have known that his conduct violated

       6
          The reasonableness of Agent Rodriguez’s decision to stop Plaintiff has no bearing on
Plaintiff’s excessive-force or unlawful-arrest claims. See Cty. of L.A., Calif. v. Mendez, 137 S.
Ct. 1539, 1547 (2017) (holding that when a law enforcement officer allegedly commits multiple
Fourth Amendment violations, each violation “should be analyzed separately”).
8 / 17
     Case 5:15-cv-00108 Document 66 Filed in TXSD on 08/10/18 Page 9 of 17



Plaintiff’s constitutional rights. Under the facts as alleged by Plaintiff, he did absolutely nothing

to raise suspicion that he intended to impede or interfere with Agent Rodriguez in violation of

section 111. Braking while driving, without something more, is not at all suspicious. Every

reasonable official would know he does not have the sweeping authority to detain any driver who

happens to brake in front of him. Indeed, Defendants do not deny this. Rather, they dodge the

issue by ignoring Plaintiff’s version of the facts and focusing instead on Agent Rodriguez’s

testimony that Plaintiff “slammed” on his brakes. (Dkt. 49 at 21–22.) Therefore, mindful that it

must make all inferences in Plaintiff’s favor, the Court holds that Agent Rodriguez is not entitled

to summary judgment on qualified-immunity grounds on Plaintiff’s unlawful-stop claim.7

B.     Excessive Force

       “When a plaintiff alleges excessive force during an investigation or arrest, the federal

right at issue is the Fourth Amendment right against unreasonable seizures.” Tolan v. Cotton,

134 S. Ct. 1861, 1865 (2014). To prevail on an excessive-force claim, a plaintiff must show “(1)

injury, (2) which resulted directly and only from a use of force that was clearly excessive, and

(3) the excessiveness of which was clearly unreasonable.” Hanks, 853 F.3d at 744. When

assessing whether the force used was excessive, courts consider the severity of the crime at issue,

whether the suspect posed an immediate safety threat, and whether he actively resisted arrest or

attempted to evade arrest by flight. Pratt v. Harris Cty., Tex., 822 F.3d 174, 181 (5th Cir. 2016).

This analysis is “necessarily fact-intensive.” Id. Thus, outside of an obvious case, “officers are

entitled to qualified immunity unless existing precedent ‘squarely governs’ the specific facts at

       7
          The Court wishes to underscore the narrowness of its holding. It does not hold that a
driver’s decision to apply his brakes can never be relevant to the reasonable-suspicion analysis in
the context of a potential violation of section 111. Rather, the Court holds that when a driver
merely taps on his brakes—a patently benign and frequently executed driving maneuver—and
does literally nothing else to raise suspicion, any competent officer should have no reason to
suspect that the driver violated section 111.
9 / 17
    Case 5:15-cv-00108 Document 66 Filed in TXSD on 08/10/18 Page 10 of 17



issue.” Kisela v. Hughes, 138 S. Ct. 1148, 1153 (2018).

       Here, Plaintiff argues that (1) Agent Gregory used excessive force when he initially

grabbed Plaintiff and (2) Agent Rodriguez used excessive force when he tased Plaintiff.8 (Dkt.

42 at 15; see Dkt. 60 at 30.) Defendants, on the other hand, argue that Agent Gregory’s decision

to grab Plaintiff was reasonable in light of the circumstances: Plaintiff is a “big, powerful man”;

he was aggressive; he had a knife clipped to one pocket; and he refused to withdraw his hand

from the other, which in Defendants’ view, could have also contained a weapon. (Dkt. 49 at 25–

26.) Defendants argue further that Agent Rodriguez’s decision to tase Plaintiff was also

reasonable because, on top of the fact that Plaintiff clearly possessed one weapon and might have

been concealing another, he physically resisted Agent Gregory’s attempts to control his arm. (Id.

at 26–27.)

       The Court need not decide whether Agents Gregory or Rodriguez violated the Fourth

Amendment when they used force against Plaintiff because even assuming a constitutional

violation occurred, the agents did not violate clearly established law.9



       8
           Plaintiff’s complaint alleges further that Agent Gregory used excessive force “in
tackling and beating” Plaintiff. (Dkt. 42 at 15.) But this allegation misrepresents what actually
happened. The video evidence shows that Agent Gregory simply grabbed Plaintiff’s arm and that
Plaintiff fell to the ground after he was tased. (Dkt. 60, Exh. B-1 at 3:47–54.) Thus, the Court
limits its excessive-force inquiry to Agent Gregory’s “escort hold” and Agent Rodriguez’s use of
his taser.
       9
          Plaintiff argues that the right at issue here was clearly established in light of the Fifth
Circuit’s holding in Deville, 567 F.3d at 167–69. (Dkt. 60 at 38–39.) But that case is inapposite.
There, during a routine traffic stop for speeding, the plaintiff failed to comply with the on-scene
officers’ commands to exit her vehicle. Id. at 161–62. In response, the officers broke the
plaintiff’s car window, pulled her out of her car, and “threw her up against [it].” Id. at 162. The
plaintiff sued the officers under 42 U.S.C. § 1983, alleging, among other things, that the force
they used was excessive. Id. at 163. The officers then moved for summary judgment on
qualified-immunity grounds. Id. But the Fifth Circuit ultimately ruled against them on the
excessive-force issue. Id. at 169. The court explained that the alleged violation for which the
plaintiff was stopped was minor and that there was no reason to believe that she posed a threat
10 / 17
    Case 5:15-cv-00108 Document 66 Filed in TXSD on 08/10/18 Page 11 of 17



        Plaintiff points to no authority in which an officer in circumstances similar to this case

was held to have used excessive force. On the contrary, this circuit’s precedent supports the

conclusion that both agents are entitled to qualified immunity on Plaintiff’s excessive-force

claim. For example, in Poole v. City of Shreveport, the Fifth Circuit held that an officer’s use of

force is not excessive when the officer uses “measured and ascending actions that correspond[]

to [a suspect’s] escalating verbal and physical resistance.” 691 F.3d 624, 629 (5th Cir. 2012)

(internal quotation marks omitted). There, two officers stopped a driver who “was unable to

produce proof of insurance and smelled of alcohol.” Id. at 625. At some point during the stop,

one of the officers instructed the driver to turn around while the other grabbed the driver’s arm

and attempted to place it behind his back. Id. In response, the driver backed away. Id. at 626. The

officers then tried to regain control; one held the driver’s left arm while the other “tase[d] him

repeatedly.” Id. When the tasing officer tried to grab the driver’s other arm, the driver pulled it

away and “verbally and physically resisted” that officer’s commands. Id. The officer then tased

the driver a second time before finally arresting him. Id. The driver sued both officers for using

excessive force, but the Fifth Circuit ultimately held that the officers were entitled to qualified

immunity. Id. at 629. The court reasoned that the officers responded with “measured and

ascending” actions in a situation that was “tense, uncertain, and rapidly evolving.” Id. And by

refusing to be handcuffed, the driver posed an immediate threat to the officers’ safety. Id. For


while sitting calmly in her vehicle despite also disobeying the officers’ commands. Id. at 167.
The court explained further that aside from refusing to exit her car, the plaintiff did not
“physically resist[]” the officers. Id. Finally, the court stated that the officers engaged in “little, if
any, negotiation” before breaking the plaintiff’s window and dragging her out of her car. Id. at
168. In contrast, here, Plaintiff possessed a weapon and physically resisted Agent Gregory’s
attempt to control his arm. Thus, unlike in Deville, it was not unreasonable for the on-scene
agents to believe that Plaintiff posed a threat to their safety. Moreover, before the agents in this
case used force they engaged in sufficient negotiation as Plaintiff repeatedly refused to comply
with their requests. Thus, Deville is distinguishable and does not clearly establish the right at
issue in this case.
11 / 17
    Case 5:15-cv-00108 Document 66 Filed in TXSD on 08/10/18 Page 12 of 17



these reasons and because the driver “actively resist[ed] the officers’ instructions,” the court held

that the officers’ use of force was not “clearly excessive.” Id. (alteration in original) (internal

quotation marks omitted).

          Similarly, in Cadena v. Ray, the Fifth Circuit explained that “tasing is permissible after a

suspect continuously fails to comply and resists handcuffing, particularly when it is not the first

method to gain compliance.” 2018 WL 1566528, at *3 (5th Cir. Mar. 29, 2018) (quoting Pratt,

822 F.3d at 182) (internal quotation marks omitted). In that case, the plaintiff refused to comply

with several police officers’ orders as the officers arrested the plaintiff’s wife. Id. at *1. When

the plaintiff approached one of the officers from behind, the officer ordered the plaintiff to put

his hands behind his back. Id. But the plaintiff refused. Id. The officer then pushed the plaintiff

against a wall, and with the help of another officer, attempted to subdue the plaintiff by wrestling

him to the ground. Id. Still, the plaintiff “refused to surrender his arms.” Id. Shortly thereafter,

another officer arrived at the scene and immediately tased the plaintiff. Id. The plaintiff later

sued the officers, claiming that the “take down” and tasing constituted excessive force in

violation of the Fourth Amendment. Id. at *2. The Fifth Circuit disagreed. It held that the “take

down” was permissible because the plaintiff (1) repeatedly disobeyed the officers’ commands

and (2) approached the officers in a threating manner. Id. It also explained that the officers’

decision to wrestle the plaintiff to the ground corresponded with the plaintiff’s level of

resistance. Id. Lastly, the Court held that the officer’s use of a taser was appropriate because the

plaintiff continued to resist the officers after they wrestled him to the ground. Id. at 3.

          Here, like the officers in Poole and Cadena, Agents Rodriguez and Gregory acted in a

“measured and ascending” manner that corresponded to Plaintiff’s escalating verbal and physical

resistance. Throughout the stop, Plaintiff “continuously” failed to comply with the agents’


12 / 17
     Case 5:15-cv-00108 Document 66 Filed in TXSD on 08/10/18 Page 13 of 17



commands. He disobeyed both Agent Rodriguez’s repeated orders to get back in his car and

Agent Gregory’s orders to remove his hand from his pocket. He also resisted the agents

physically by refusing to “surrender his arm” and thus posed an immediate threat to their safety.

Additionally, when Agent Rodriguez finally decided to use his taser, it was anything but “the

first method to gain compliance.”

          Therefore, the Court holds that the agents’ use of force was not objectively unreasonable

and that they accordingly did not violate Plaintiff’s clearly established rights. Both agents are

thus entitled to qualified immunity on Plaintiff’s excessive-force claim.

C.        False Arrest

          An arrest is the “quintessential seizure of the person” under the Fourth Amendment.

California v. Hodari D., 499 U.S. 621, 624 (1991) (internal quotation marks omitted). Thus, “a

warrantless arrest must be supported by probable cause.” Sam v. Richard, 2018 WL 1751566, at

*4 (5th Cir. Apr. 12, 2018). “Probable cause exists when all of the facts known by a police

officer are sufficient for a reasonable person to conclude that the suspect had committed, or was

in the process of committing, an offense.” Id. (quoting State v. Kleinert, 855 F.3d 305, 316 (5th

Cir. 2017)) (internal quotation marks omitted). Accordingly, probable cause “turns on the

assessment of probabilities in particular factual contexts.” D.C. v. Wesby, 138 S. Ct. 577, 590

(2018). Thus, for qualified-immunity purposes, an officer who conducts a warrantless arrest does

not violate “clearly established” legal principles unless those principles obviously dictate that the

specific circumstances that the officer confronted did not constitute probable cause. Id. In other

words, an officer is entitled to qualified immunity as long as he reasonably concludes that

probable cause was present even if he is ultimately mistaken. Id. at 591.

          Here, Defendants argue that Agents Rodriguez and Gregory had probable cause to arrest


13 / 17
    Case 5:15-cv-00108 Document 66 Filed in TXSD on 08/10/18 Page 14 of 17



Plaintiff for resisting a federal officer in violation of section 111 because after Plaintiff was

pulled over, he resisted “Agent Gregory’s efforts to control his left arm and hand.” (Dkt. 49 at

28.) Conversely, Plaintiff lays out three reasons why, in his view, the agents did not have

probable cause to arrest him for violating section 111. First, Plaintiff contends that because he

did not actually “pull[] his arm out of [Agent Gregory’s] hand,” but instead merely “froze up,”

he did not use the requisite level of force proscribed by section 111. 10 (Dkt. 60 at 37, 41–42.)

Second, he argues that the Government’s “refusal to prosecute” him for any crime also helps

establish that there was no probable cause to arrest him in the first place. (Id. 43–44.) Lastly,

Plaintiff points to the deposition testimony of Border Patrol Agent Gregory Burwell—the

“deputy patrol agent in charge” at the time of Plaintiff’s arrest. (Dkt. 60, Attach. 6 at 6.) Agent

Burwell—who was not present during the vehicle stop at issue in this case—testified that he

thought that Plaintiff was arrested for stepping on his brakes, not for resisting Agent Gregory’s

grip. (Dkt. 60, Attach. 6 at 27.) Agent Burwell’s testimony, however, is inconsistent with the

argument Defendants now raise in their summary-judgment motion. According to Plaintiff, this

inconsistency somehow shows that the agents lacked probable cause to arrest him. (Dkt. 60 at

43–44.)

       As with Plaintiff’s excessive-force claim, the Court need not answer whether the agents

actually violated the Fourth Amendment when they arrested Plaintiff. Even assuming the agents

lacked probable cause to arrest him, their actions were not objectively unreasonable in light of

clearly established law.

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          Plaintiff also appears to suggest that even if he did forcibly resist Agent Gregory’s
“escort hold,” his actions were nonetheless justified because Agent Gregory did not have
probable cause to restrain Plaintiff in the first place. (Dkt. 60 at 41–42.) However, this argument
fails because a federal official is protected by section 111 “even if he is effecting an arrest
without probable cause.” See United States v. Dombrowsky, 111 F. App’x 716, 718 (5th Cir.
2004) (per curiam).
14 / 17
    Case 5:15-cv-00108 Document 66 Filed in TXSD on 08/10/18 Page 15 of 17



       Plaintiff’s overarching argument draws a very fine distinction. Essentially, he suggests

that by stiffening his arm instead of affirmatively attempting to remove it from Agent Gregory’s

grip, he did not “forcibly” resist a federal officer. See 18 U.S.C. § 111. Thus, in his view, the

agents did not have probable cause to arrest him for violating section 111. But even assuming

Plaintiff did not attempt to remove his arm from Agent Gregory’s grip, he cites no case that

clearly establishes the rule he proposes.11 Indeed, at the time of the vehicle stop, “the Fifth

Circuit ha[d] not had occasion to define ‘forcibly’ in the context of § 111(a)(1).” Sophin v.

United States, 153 F. Supp. 3d 956, 965 (W.D. Tex. 2015). And here, it is undeniable that

Plaintiff’s refusal to succumb to Agent Gregory’s “escort hold” involved an application of some

force. It is also undeniable that his actions constituted resistance. See Webster’s New Collegiate

Dictionary 985 (1977) (defining “resist” as the “exert[ion] [of] force in opposition”). Thus, in the

absence of precedent that obviously dictates that Agents Rodriguez and Gregory lacked probable

cause, it was not objectively unreasonable for them to believe they had constitutional authority to

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           Instead, Plaintiff argues that the agents did not have probable cause to arrest him
because the facts of this case are distinguishable from the facts in Ramirez v. Martinez, 716 F.3d
369 (5th Cir. 2013). (Dkt. 60 at 41.) Defendants cite Ramirez in their summary-judgment motion
to support their argument that Plaintiff actually violated section 111 when he refused to allow
Agent Gregory to control his arm. (Dkt. 49 at 26–27.) In Ramirez, the Fifth Circuit held that
“pulling out of an officer’s grasp is sufficient to constitute resisting arrest” under Texas law. 716
F.3d at 376. Here, Plaintiff argues, unlike the arrestee in Ramirez, he did not actually “pull” his
arm out of Agent Gregory’s grasp, and thus, there was no probable cause to believe that he
resisted Agent Gregory in violation of section 111. (Dkt. 60 at 41.) But the court in Ramirez did
not hold, as Plaintiff suggests, that refusing to succumb to an officer’s grasp cannot also
constitute resisting arrest. Furthermore, that case concerned only the Texas state-law equivalent
of section 111. Thus, it in no way clearly establishes that the agents here did not have probable
cause to believe that Plaintiff violated federal law.
        Plaintiff also appears to misconstrue his burden of proof. He apparently suggests that
because Defendants cannot point to a case in which an individual was found to have violated
section 111 in circumstances similar to those at issue here, Defendants’ qualified-immunity
defense must fail. But it is not Defendants’ burden to produce cases showing that Plaintiff’s
rights were not violated or that those rights were not clearly established. Rather, it is Plaintiff’s
burden to raise a genuine issue of material fact as to whether the agents violated his clearly
established rights. Ramirez does not help Plaintiff satisfy this burden.
15 / 17
    Case 5:15-cv-00108 Document 66 Filed in TXSD on 08/10/18 Page 16 of 17



arrest Plaintiff for violating section 111.

          Plaintiff’s two additional arguments in support of his contention that the agents lacked

probable cause are also unavailing. First, it is irrelevant that Plaintiff was ultimately never

charged with violating section 111. Probable cause for an arrest exists if the arresting officer was

“aware of facts justifying a reasonable belief that an offense was being committed, whether or

not the officer charged the arrestee with that specific offense.” Club Retro, L.L.C. v. Hilton, 568

F.3d 181, 204 (5th Cir. 2009). Second, Agent Burwell’s inconsistent testimony is also irrelevant

to the probable-cause determination. Whether probable cause exists is an objective test, and it

depends only upon “the facts known by” the arresting officer at the time of the allegedly

unlawful arrest. Richard, 2018 WL 1751566, at *4. Agent Burwell’s after-the-fact, subjective

understanding of why Agents Rodriguez and Gregory arrested Plaintiff was not a fact known by

the agents at the time of the arrest, and thus has no bearing on whether they had probable cause.

          Therefore, Agents Rodriguez and Gregory are also entitled to qualified immunity on

Plaintiff’s unlawful-arrest claim.

                                              Conclusion

          For the foregoing reasons, Defendants’ motion for summary judgment (Dkt. 49) is hereby

DENIED IN PART and GRANTED IN PART. Summary judgment is denied as to Plaintiff’s

unlawful-stop claim, and it is granted as to Plaintiff’s excessive-force and unlawful-arrest claims.

Accordingly, Plaintiff’s excessive-force and unlawful-arrest claims are hereby DISMISSED

WITH PREJUDICE. Furthermore, because Agent Gregory is implicated in those two claims

only—and not in Plaintiff’s unlawful-stop claim—Plaintiff has no remaining claims against him.

Thus, the Clerk of Court is DIRECTED to TERMINATE him from the case.

          IT IS SO ORDERED.


16 / 17
    Case 5:15-cv-00108 Document 66 Filed in TXSD on 08/10/18 Page 17 of 17



          SIGNED this 10th day of August, 2018.



                                                  ___________________________________
                                                  Diana Saldaña
                                                  United States District Judge




17 / 17
